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 6
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 7 United States of America

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                            CASE NO. 1:16-CR-00058 LJO SKO
12
                                   Plaintiff,             STIPULATION AND ORDER BETWEEN THE
13                                                        UNITED STATES AND MICHAEL CHU LO
                            v.
14
     MICHAEL CHU LO,
15                                 Defendant.

16

17
                                                  STIPULATION
18

19

20          WHEREAS, the discovery in this case is voluminous and contains a large number of documents,

21 including bank records, that include personal information such as Social Security numbers, dates of

22 birth, financial account numbers, telephone numbers, and residential addresses (“Protected

23 Information”); and

24          WHEREAS, the parties desire to avoid both the necessity of large scale redactions and the

25 unauthorized disclosure or dissemination of Protected Information to anyone not a party to the court

26 proceedings in this matter;

27          The parties agree that entry of a stipulated protective order is appropriate.

28          THEREFORE, defendant MICHAEL CHU LO, by and through his counsel of record Robert

      STIPULATION AND ORDER                               1

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            Case 1:16-cr-00058-LJO-SKO Document 20 Filed 06/29/16 Page 2 of 3


 1 Sherman Wynne (“Defense Counsel”), and plaintiff the United States of America, by and through its

 2 counsel of record, hereby agree and stipulate as follows:

 3          1.      This Court may enter protective orders pursuant to Rule 16(d) of the Federal Rules of

 4 Criminal Procedure, and its general supervisory authority.

 5          2.      This Order pertains to all discovery provided to or made available to Defense Counsel as

 6 part of the discovery in this case (hereafter, collectively known as the “discovery”).

 7          3.      By signing this Stipulation and Protective Order, Defense Counsel agrees not to share any

 8 documents that contain Protected Information with anyone other than Defense Counsel and designated

 9 defense investigators and support staff. Defense Counsel may permit the defendant to view unredacted

10 documents in the presence of his attorney, defense investigators and support staff. The parties agree that

11 Defense Counsel, defense investigators, and support staff shall not allow the defendant to copy Protected

12 Information contained in the discovery. The parties agree that Defense Counsel, defense investigators,

13 and support staff may provide the defendant with copies of documents from which Protected

14 Information has been redacted.

15          4.      The discovery and information therein may be used only in connection with the litigation

16 of this case and for no other purpose. The discovery is now and will forever remain the property of the

17 United States Government. Defense Counsel will return the discovery to the Government or certify that

18 it has been destroyed at the conclusion of the case.

19          5.      Defense Counsel will store the discovery in a secure place and will use reasonable care to

20 ensure that it is not disclosed to third persons in violation of this agreement.

21          6.      Defense Counsel shall be responsible for advising the defendants, employees, other

22 members of the defense team, and defense witnesses of the contents of this Stipulation and Order.

23          7.      In the event that the defendant substitutes counsel, undersigned Defense Counsel agrees

24 to withhold discovery from new counsel unless and until substituted counsel agrees also to be bound by

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        STIPULATION AND ORDER                             2

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 1 this Order or the Court modifies this Order regarding such transfer of discovery.

 2          IT IS SO STIPULATED.

 3 Dated: June 28, 2016                                     BENJAMIN B. WAGNER
                                                            United States Attorney
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 5                                                          /s/ Megan A. S. Richards
                                                            MEGAN A. S. RICHARDS
 6                                                          Assistant United States Attorney

 7 Dated: June 28, 2016                                     /s/ Robert Sherman Wynne
                                                            (authorized by email 6/28/16)
 8                                                          ROBERT SHERMAN WYNNE
                                                            Counsel for Defendant
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13
                                                    ORDER
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     IT IS SO ORDERED.
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17      Dated:    June 29, 2016                             /s/ Lawrence J. O’Neill _____
                                                 UNITED STATES CHIEF DISTRICT JUDGE
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      STIPULATION AND ORDER                             3

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